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                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

IN RE:

DANIEL B. SHIPLEY                                                CASE No. 6:18-bk-03688-KSJ
NICOLE R. SHIPLEY DBA LIFE COACHING                              CHAPTER 7

                           DEBTORS.
______________________________________/

                DITECH FINANCIAL LLC' S MOTION FOR ORDER CONFIRMING
                      THAT THE AUTOMATIC STAY IS NOT IN EFFECT


           NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING
                  Pursuant to Local Rule 2002-4, the Court will consider the relief
                  requested in this paper without further notice or hearing unless a
                  party in interest files a response within 21 days from the date set forth
                  on the attached proof of service, plus an additional three days for
                  service if any part was served by U.S. Mail.

                  If you object to the relief requested in this paper, you must file a
                  response with the Clerk of the Court at George C. Young Federal
                  Courthouse, 400 W. Washington Street, Suite 5100, Orlando, FL
                  32801, and serve a copy on the movant's attorney, April Hosford
                  Stone, Tromberg Law Group, P.A., 1515 South Federal Highway, Suite
                  100, Boca Raton, FL 33432, and any other appropriate persons within
                  the time allowed. If you file and serve a response within the time
                  permitted, the Court will either schedule and notify you of a hearing,
                  or consider the response and grant or deny the relief requested
                  without a hearing.

                  If you do not file a response within the time permitted, the Court will
                  consider that you do not oppose the relief requested in the paper, will
                  proceed to consider the paper without further notice or hearing, and
                  may grant the relief requested.


         Ditech Financial LLC, (“Secured Creditor”), by and through its undersigned counsel, files this

Motion for Order Confirming that the Automatic Stay is Not in Effect, and in support thereof states as

follows:



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         1.       The court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, 11 U.S.C. §

1301, Fed. R. Bankr. P. 4001, Local Rule 4001-1, and the various other provisions of the United States

Bankruptcy Code, Federal Rules of Bankruptcy Procedure, and the laws of the United States of

America.

         2.       On June 19, 2018, the Debtors, Daniel B. Shipley and Nicole R. Shipley dba Life

Coaching (together the “Debtors”) filed a voluntary petition for relief under Chapter 7 of Title 11 of the

United States Code before the United Stated Bankruptcy Court for the Middle District of Florida,

Orlando Division in the case styled as In re Daniel B. Shipley and Nicole R. Shipley d/b/a Life

Coaching, Case No. 6:18-bk-03688-KSJ (the “Bankruptcy Case”).

         3.       Secured Creditor holds a security interest in the Debtor's real property located at 6931

Oakwood Court, Brookings, OR 97415 (the “Property”), by virtue of a Mortgage which is recorded in

the Public Records of Curry County, OR.                  Said Mortgage secures a Note in the amount of

$315,000.00. A true and correct copy of the Mortgage and Note are attached hereto as composite

Exhibit A.

         4.       Documentation provided is in support of right to seek lift of stay and foreclose if

necessary.

         5.       The Mortgages gives Secured Creditor a lien on the Property, which is legally described

as:




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         6.       On September 27, 2018, the Bankruptcy Court entered a Discharge Order (Doc. 20) in

favor of the Debtors.

         7.       A review of the docket does not appear that the Trustee will administer the Property

         8.       Accordingly, pursuant to Section 362(c)(2) of the Bankruptcy Code, the Secured

Creditor is permitted to pursue its remedies against the property that is security for the claim, and in

rem and in personam relief is granted against any co-debtor.

         9.       Although Secured Creditor has in rem relief from the automatic stay as set forth in

Paragraph 8 above, in an abundance of caution, Secured Creditor seeks confirmation and clarification

from the Court that this relief authorizes Movant to enforce its remedies to foreclose upon and obtain

possession of the Property, including post-sale process and eviction proceedings, if necessary, in state

court. Secured Creditor will neither seek nor obtain an in personam judgment against the Debtors but

may seek in personam relief as to any co-debtor.

         WHEREFORE, Secured Creditor, Ditech Financial LLC, respectfully requests an Order

confirming that the automatic stay is not in effect, that Secured Creditor and any successors and/or

assigns may proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon

and obtain possession of the Property, including but not limited to commencing and/or prosecuting a

mortgage foreclosure action, post-sale process, and eviction proceedings, if necessary, in state court,

and for such other and further relief as the Court may deem just and proper.

                                                           Tromberg Law Group, P.A.

                                                       BY: /s/ April Hosford Stone
                                                           Attorney for Secured Creditor
                                                           1515 South Federal Highway, Suite 100
                                                           Boca Raton, FL 33432
                                                           Telephone #: 561-338-4101
                                                           Fax #: 561-338-4077
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                                                           ecf@tromberglawgroup.com
                                                           astone@tromberglawgroup.com


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                                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 19, 2018                      , 2018, I electronically filed the
foregoing with the Clerk of the court by using the CM/ECF system, which will send a notice of
electronic filing to all CM/ECF participants listed below:

William J Sanchez
1800 Pembrook Drive, Suite 300
Orlando, FL 32810
will@theindependencelawfirm.com

Gene T Chambers
Post Office Box 533987
Orlando, FL 32853

United States Trustee - ORL
400 West Washington Street, Suite 1100
Orlando, FL 32801
USTP.Region21.OR.ECF@usdoj.gov

and on November 19, 2018                      , 2018, a true and correct copy was mailed to the non-CM/ECF
participants listed below:
Daniel B. Shipley
9641 Wild Oak Dr.
Windermere, FL 34786
Nicole R. Shipley dba Life Coaching
9641 Wild Oak Dr.
Windermere, FL 34786



                                                           Tromberg Law Group, P.A.

                                                       BY: /s/ April Hosford Stone
                                                           Attorney for Secured Creditor
                                                           1515 South Federal Highway, Suite 100
                                                           Boca Raton, FL 33432
                                                           Telephone #: 561-338-4101
                                                           Fax #: 561-338-4077
                                                           FBN 0091388
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